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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  -------------------------------------- x
  In re:                                                            : Chapter 11
                                                                    :
  HOUGHTON MIFFLIN                                                  : Case No. 12-____ (___)
  HARCOURT PUBLISHING COMPANY, et al.,1                             :
                                                                    : Joint Administration Pending
                                              Debtors.              :
  -------------------------------------- x

         MOTION FOR INTERIM AND FINAL ORDERS AUTHORIZING
       DEBTORS TO (I) MAINTAIN AND USE EXISTING BANK ACCOUNTS,
      BOOKS, RECORDS AND BUSINESS FORMS; (II) MAINTAIN AND USE
          EXISTING CASH MANAGEMENT SYSTEM; (III) PROVIDE
       SUPERPRIORITY STATUS FOR INTERCOMPANY RECEIVABLES;
        AND (IV) WAIVE THE DEPOSIT AND INVESTMENT GUIDELINES
                OF SECTION 345 OF THE BANKRUPTCY CODE

                   Houghton Mifflin Harcourt Publishing Company (―Houghton Mifflin‖)

  and its affiliated debtors and debtors-in-possession in the above-captioned cases (each a


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      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
      number, are Houghton Mifflin Harcourt Publishing Company (6030), Houghton Mifflin Harcourt
      Publishers Inc. (7305), HMH Publishers, LLC (7173), Houghton Mifflin Holding Company, Inc.
      (2898), Houghton Mifflin, LLC (2961), Houghton Mifflin Finance, Inc. (2812), Houghton Mifflin
      Holdings, Inc. (0674), HM Publishing Corp. (5843), Riverdeep Inc., a Limited Liability Company
      (9612), Broderbund LLC (6113), RVDP, Inc. (2557), HRW Distributors, Inc. (4902), Greenwood
      Publishing Group, Inc. (4537), Classroom Connect, Inc. (3282), ACHIEVE! Data Solutions, LLC
      (7499), Steck-Vaughn Publishing LLC (6929), HMH Supplemental Publishers Inc. (7571), HMH
      Holdings (Delaware), Inc. (6372), Sentry Realty Corporation (6742), Houghton Mifflin Company
      International, Inc. (9100), The Riverside Publishing Company (0173), Classwell Learning Group Inc.
      (9252), Cognitive Concepts, Inc. (5986), Edusoft (9992), and Advanced Learning Centers, Inc. (2861).
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  ―Debtor,‖ and collectively, the ―Debtors‖), by and through their undersigned counsel,

  hereby move this Court for entry of interim and final orders substantially in the form

  attached hereto as Exhibits D and E, pursuant to sections 105(a), 345(b), 363 and 364,

  503, 1107 and 1108 of title 11 of the United States Code, (the ―Bankruptcy Code‖),

  authorizing the Debtors to (i) maintain and use their existing bank accounts (the ―Bank

  Accounts‖), books, records and business forms; (ii) maintain and use their existing cash

  management system; (iii) provide superpriority status for intercompany receivables; and

  (iv) waive the deposit and investment guidelines of section 345 of the Bankruptcy Code. In

  support of this motion (the ―Motion‖), the Debtors rely upon the Affidavit of William F.

  Bayers (the ―Bayers Affidavit‖), general counsel to the Debtors, pursuant to Rule 1007-2

  of the Local Bankruptcy Rules for the Southern District of New York (the ―Local Rules‖)

  filed contemporaneously herewith and incorporated herein by reference, and respectfully

  state as follows:


                              JURISDICTION AND VENUE

                 1.      This Court has jurisdiction to consider this Motion pursuant to 28

  U.S.C. §§ 157 and 1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408

  and 1409. Sections 105(a), 345(b), 363(c)(1) and 364(c), 503, 1107 and 1108 of the

  Bankruptcy Code provide the statutory predicate for the requested relief herein.


                                      BACKGROUND

                 2.      On the date hereof (the ―Petition Date‖), each of the Debtors filed

  with this Court a voluntary petition for relief under chapter 11 of the Bankruptcy Code.

  The Debtors continue to operate their businesses and manage their properties as debtors-

  in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

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                    3.   As described more fully below, contemporaneously with the filing

  of their petitions, the Debtors also filed their Prepackaged Joint Plan of Reorganization

  (the ―Prepackaged Plan‖) to implement a restructuring of certain of the Debtors’

  outstanding indebtedness and existing equity interests. Although the solicitation period

  remains open, as of the Petition Date, 90.3% of the total amount of creditors entitled to

  vote on the Prepackaged Plan voted in favor of the Prepackaged Plan and 76% in amount

  of equity holders entitled to vote on the Prepackaged Plan voted in favor of the

  Prepackaged Plan. The Debtors did not receive any ballots rejecting the Prepackaged

  Plan. As a result of the overwhelming support for the Prepackaged Plan, the Debtors

  intend to move forward with confirmation of the Prepackaged Plan at the Court’s earliest

  available date.

                    4.   As of the date hereof, no creditors’ committee, trustee or examiner

  has been appointed in these cases.

                    5.   The Debtors comprise one of the leading educational publishers in

  the U.S. public school market (known as kindergarten to grade 12 or ―K-12‖). The

  Debtors offer a diverse portfolio of products and services, including textbooks,

  workbooks, supplemental materials, technology-based products, teaching guides, various

  types of standardized and customized tests, professional assessment products, and a wide

  range of trade and reference titles. The Debtors are organized into the following two

  divisions: education and trade and reference. The education division is the largest

  division and represents approximately 90% of the Debtors’ total revenue. The Debtors’

  revenue and EBITDA for the year ended December 31, 2011 were approximately $1.295

  billion and $238 million, respectively.



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                 6.      The global financial crisis over the past several years has

  negatively affected the Debtors’ recent financial performance. The Debtors’ business

  depends largely on state and local funding and the recession-driven decreases in state

  spending as well as significant purchase deferrals in key states and territories resulted in

  material reductions in the overall size of the Debtors’ key K-12 market. Lack of

  anticipated federal stimulus support also contributed to the Debtors’ substantial revenue

  decline. As a result of the deteriorating macroeconomic conditions, the Debtors, along

  with certain of their non-debtor affiliates, implemented a consensual out-of-court

  restructuring in March, 2010. Despite the out-of-court restructuring, due to the

  continuing contraction of funds for state education spending and higher deferrals of

  awarded business than expected, the Debtors have continued to experience financial

  difficulties. On or about December 22, 2011 and December 29, 2011, the Debtors

  entered into amendments to their first lien credit facility and receivables facility,

  respectively (collectively, the ―Amendments‖).

                 7.      Notwithstanding the Amendments, the Debtors have determined

  that a complete delevering of their capital structure is now necessary. In or about March

  2012, significant holders of claims under the Debtors’ first lien credit facility (the ―First

  Lien Credit Facility‖) and the 10.5% Notes formed an informal creditor group (the

  ―Informal Creditor Group‖). Since its formation, the Informal Creditor Group and its

  advisors have engaged in constructive dialogue with the Debtors regarding a

  comprehensive restructuring of the Debtors’ outstanding debt and equity.

                 8.      After months of good faith, arm’s length negotiations among the

  Debtors and the Informal Creditor Group and their respective advisors, the parties



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  reached an agreement on the terms of a restructuring to completely delever the Debtors’

  balance sheet. The Debtors have commenced these Chapter 11 Cases to implement the

  terms of the agreement which has been embodied in the Prepackaged Plan and the

  accompanying Restructuring Support Agreement (as defined in the Prepackaged Plan).


                     THE DEBTORS’ CASH MANAGEMENT SYSTEM

          A.       Overview

                   9.       The Debtors have maintained an integrated and efficient

  centralized cash management system to: (i) manage borrowing activity under various

  credit facilities, including an accounts receivable securitization facility, as well as interest

  payments on the First Lien Credit Facility and the 10.5% Notes2; (ii) manage the

  Debtors’ cash flow and cash needs by collecting and distributing funds generated from

  operations; (iii) manage the Debtors’ investment activity; and (iv) transfer funds between

  and among the Debtors’ and non-Debtor affiliates, both foreign and domestic (the ―Cash

  Management System‖). The Debtors’ treasury department (―Treasury‖) exercises

  primary oversight over the Cash Management System.

                   10.      The Debtors’ Cash Management System consists of forty (40)

  active bank accounts at thirteen (13) banking and investment institutions (collectively, the

  ―Bank Accounts‖). Each Bank Account maintained by the Debtors is set forth on the

  attached Exhibit C.

                   11.      The Cash Management System is similar to those commonly

  employed by corporate enterprises comparable to the Debtors in economic scope and


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      For purposes of this Motion, claims under the First Lien Credit Facility and the 10.5% Notes are
      referred to collectively as ―Prepetition Senior Creditor Claims‖ and the holders thereof as ―Prepetition
      Senior Creditors.‖


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  geographic reach. The Debtors’ continued use of the Cash Management System is

  integral to its ability to efficiently and effectively (i) control, monitor, report and forecast

  the Debtors’ cash positions; (ii) ensure cash availability; (iii) reduce administrative

  expenses by facilitating the movement of funds; and (iv) optimize the use of those funds

  among entities, thereby minimizing external borrowings and maximizing investment

  returns. These benefits of the Cash Management System necessarily enhance the value

  of the Debtors’ businesses. The movement of funds through the Debtors’ Cash

  Management System is described further below and is illustrated by the charts attached as

  Exhibit A and Exhibit B hereto.

          B.      Cash Position Forecasting

                  12.     The Debtors manage cash and investments through a rolling cash

  forecast model (―Cash Forecast‖) that shows all expected collections and cash

  disbursements on a daily basis. Treasury employees create the Cash Forecast for the year

  based on historical information and forecasts from various departments which tie into the

  Debtors’ budget. Forecasted information includes: (i) a collections forecast based on

  forecasted sales and returns, with values updated with actual amounts as monthly activity

  becomes available; (ii) payroll forecasts based on employment changes and previous

  actual payroll disbursements; (iii) sales and use tax disbursement forecasts based on

  forecasted sales in various states and countries; and (iv) accounts payable forecasts

  calculated on a weekly basis.

                  13.     The Cash Forecast is updated with actual amounts when available

  which include: (i) lockbox reports showing actual collections; (ii) operating account

  activity (defined below); (iii) Automated Clearing House (―ACH‖) and check

  disbursement reports; and (iv) payroll reports.

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                   14.   Treasury uses the Cash Forecast to reconcile the central Bank of

  America operating and concentration account (the ―Operating Account‖) on a daily basis.

  Treasury researches any activity in the Operating Account that was not forecasted and

  will update the Cash Forecast model accordingly. The Cash Forecast is saved onto a

  share drive for corporate accounting (―Accounting‖) and Treasury management to

  review. Accounting uses the Cash Forecast to post entries in the Debtors’ general ledger

  detailing borrowing and investing activity on a monthly basis. Treasury employees

  compare the Cash Forecast with actual expenditures and reconcile any variances on a

  monthly basis.

                   15.   Treasury employees also review the Cash Forecast daily to

  evaluate the Debtors’ cash position and to make decisions regarding borrowing and

  investing. The Debtors receive the bulk of their collections during the months of August

  through October. Consequently, the Debtors borrow more heavily during the six month

  period from February through August. When the Debtors are in a negative cash position

  they will make decisions regarding the types and amounts of borrowing the Debtors will

  need to undertake. When the Debtors are in a positive cash position, they will make

  decisions regarding the types and amounts of investments the Debtors will make.

         C.        Cash Collection

                   16.   Houghton Mifflin maintains two lockboxes located at Bank of

  America for receipt of checks and two credit card accounts at Bank of America for

  receipt of credit card receipts for trade and internet sales (collectively, the ―Houghton

  Mifflin Accounts‖). Customers may also remit payments via wire transfer or ACH to the

  Collection Accounts.



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                 17.    Greenwood Publishing Group, Inc. (―Greenwood‖) also maintains

  three accounts with Bank of America for local deposits and petty cash in New Hampshire

  as well as for credit card receipts (collectively, the ―Greenwood Accounts‖ and together

  with the Houghton Mifflin Accounts, the ―Collection Accounts‖).

                 18.    Furthermore, Houghton Mifflin maintains two accounts with Bank

  of America into which it deposits receivables the Debtors receive in pounds sterling

  (―GBP‖) and in Euro (respectively, the ―GBP Account‖ and the ―Euro Account‖). The

  Debtors also utilize the GBP Account and Euro Account to pay disbursements in GBP or

  Euro rather than purchase foreign currency from their domestic central operating account.

  Houghton Mifflin Company International, Inc. also maintains a Bank of America value-

  added tax (―VAT‖) refund account used to receive any tax refunds issued from certain

  taxing authorities to Houghton Mifflin Company International, Inc.

         D.      Cash Concentration

                 19.    The cash in the Collection Accounts is manually swept into the

  Operating Account. The funds in the Houghton Mifflin lockbox and credit card accounts

  are swept on a daily basis. The funds in the Greenwood Accounts for local deposits and

  petty cash are swept on a weekly basis.

         E.      Cash Disbursement

                 20.    Once funds are collected into the Central Account, they may then

  be transferred into (i) a Bank of America payroll account, for payments to the Debtors’

  employees; (ii) a Wachovia disbursements account, for payments to the Debtors’ vendors

  (the ―Wachovia Account‖); (iii) a Bank of America Flexible Spending Health Care




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  Account; (iv) a Bank of America disbursement account for payments to Williams Lea3 in

  exchange for the provision of global supply chain outsourcing services for manufacturing

  purposes; or (v) one of several additional accounts, many of which are used for

  investment purposes.

                  21.      Accounts payable disbursements occur weekly primarily through

  ACH.

                  22.      All disbursements are subject to institutional controls under a

  reservation of authority policy (―Reservation of Authority‖). The Reservation of

  Authority helps to ensure that all expenditures of the Debtors’ funds are appropriately

  authorized by creating authorization limits for certain of the Debtors’ personnel to be

  followed in the day-to-day operation of the Debtors’ businesses.

                  23.      Under the Reservation of Authority, the following three types of

  expenditures require a purchase order: (i) all inventory-related purchases; (ii) all fixed

  asset purchases; and (iii) expenditures exceeding $5,000 unless specifically excluded by

  the Reservation of Authority. Purchase orders and invoices not subject to the

  aforementioned purchase order requirement or issued pursuant to a contract must receive

  transaction authority in accordance with strict dollar value approval limits based on the

  employees’ management level. The right to approve expenditures is not automatic and

  must be formalized by a signed reservation of authority form granting those rights within

  the Reservation of Authority framework, which is described below:




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      Part of the service provided by Williams Lea involves the reconciliation of manufacturing invoices
      with purchase orders and warehouse records of what has been received, and then issuing payment
      against those manufacturing invoices. These payments are transacted through the Bank of America
      Williams Lea disbursements account, to which Williams Lea representatives have access.


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                 Approval by the Debtors’ Board of Directors is required for projects
                  involving print or electronic works for which the aggregate investment in
                  plant, grant, advances, and outside editorial/development exceeds $50
                  million.

                 Division and/or subsidiary presidents (the ―Division Presidents‖) have the
                  authority to approve projects in varying amounts up to $1.5 million.

                 Corporate Executive Vice Presidents in Legal and Human Resources, as
                  well as the Corporate Controller and Corporate Treasurer, have the
                  authority to approve projects in varying amounts up to $2.5 million.

                 The Debtors’ Chief Operating Officer and the Chief Financial Officer
                  have the authority to approve projects in varying amounts up to $5 million
                  and Chief Executive Officer (―CEO‖) approval is required for projects in
                  excess of $5 million.

                 The CEO may delegate to the Division Presidents the authority to explore
                  editorial or marketing opportunities at a cost not to exceed $100,000 to
                  $250,000, depending on the division.

                 All general and payroll disbursements must comply with certain check-
                  signing requirements in accordance with the Reservation of Authority
                  policy. ACH and wire transfers are subject to the approval limits based on
                  the Employees’ management level as described above. Two different
                  individuals in Treasury or the corporate controller must initiate and release
                  wire transfers for them to be processed.

                 The Reservation of Authority also provides that Treasury has the authority
                  to move funds between domestic Debtor accounts as necessary. The
                  Treasurer, Assistant Treasurer, or Corporate Controller must approve any
                  movement of funds greater than $500,000.

         F.       Intercompany Claims

                  24.     In the normal course of business, the Debtors engage in various

  intercompany transactions (the ―Intercompany Transactions‖) with other Debtors and

  their non-Debtor affiliates. As a result, at any given time, numerous Intercompany

  Transactions exist that reflect intercompany payments and receivables made in the

  ordinary course between and among the Debtors and other Debtors as well as between




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  and among the Debtors and certain of their non-debtor affiliates (the ―Intercompany

  Claims‖).

                 25.     Intercompany Claims represent, but are not limited to, the

  following: (1) costs for Dublin office rent; (2) payroll; (3) reimburseable business

  expenses; and (4) operating expenses.

                 26.     The Debtors transfer funds to international affiliates electronically

  via relationships with Western Union, Goldman Sachs, and Wells Fargo. The Debtors

  will initiate a wire transfer from their Operating Account to one of these three

  institutions, with instructions to either convert to foreign currency or to send to the

  Debtor or non-Debtor affiliate in U.S. dollars.

                 27.     The Debtors have entered into forward contracts to purchase

  foreign currency with U.S. dollars at a pre-determined rate. These forward contracts are

  transacted through either Western Union or Wells Fargo. Although the Debtors will not

  enter into any new forward contracts during the chapter 11 cases, the Debtors expect to

  pay $2.5 million in forward contract settlements during the course of the cases. From

  time to time, the Debtors will purchase foreign currency at the current exchange rate

  (―Spot Purchases‖) in order to pay bills or transfer funds to the Debtors’ subsidiaries or

  affiliates in foreign currency. These Spot Purchases are transacted through Western

  Union, Goldman Sachs, or Wells Fargo.

                 28.     The Debtors maintain records of Intercompany Claims between

  and among themselves, as well as between the Debtors and non-Debtor affiliates.

                 29.     As noted in the Bayers Declaration, the Prepackaged Plan has been

  accepted by the requisite amount and number of stakeholders voting on the plan and all



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  other stakeholders are unimpaired or deemed to reject the Prepackaged Plan. Therefore,

  the Debtors submit that no party will be prejudiced by the continuation of the Cash

  Management System, and, in particular, the Intercompany Transactions. To the contrary,

  as explained below, the continuation of the Cash Management System, including the

  existing Bank Accounts, is necessary to ensure the Debtors’ smooth transition into

  chapter 11, as any disruption could cause immense and irreparable harm to the Debtors’

  estates.


                                   RELIEF REQUESTED

                 30.     Pursuant to this Motion, the Debtors request entry of first, an

  interim order (the ―Interim Order‖) in the form attached hereto as Exhibit D, and then a

  final order (the ―Final Order‖) in the form attached hereto as Exhibit E, pursuant to

  sections 105(a), 363 and 364(c)(l), 503, 1107 and 1108 of the Bankruptcy Code (i)

  authorizing the continued use of existing Bank Accounts, books, records and business

  forms; (ii) authorizing the continued use of the Cash Management System described

  herein as modified to the extent described below; (iii) granting superpriority status for

  intercompany receivables; and (iv) waiving the deposit and investment guidelines of

  section 345 of the Bankruptcy Code. The Debtors also request that the Court schedule a

  final hearing on the requested relief.

  The Court Should Authorize the Debtors to Continue
  Their Cash Management System

                 31.     In the ordinary course of business and prior to the Petition

  Date, the Debtors used the centralized Cash Management System described above. As

  discussed herein, the Cash Management System is designed for the efficient collection,




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  transfer and disbursement of funds generated through the Debtors’ operations and to

  accurately record such collections, transfers and disbursements as they are made.

                 32.    The Cash Management System is an ordinary course, essential

  business practice of the Debtors. The system is beneficial to the Debtors, their estates

  and their creditors because it enables the Debtors to (i) reduce the administrative

  expenses involved in moving funds; (ii) maintain accurate information regarding

  receipts, account balances and disbursements; (iii) reduce external borrowings; and

  (iv) ensure compliance with the Debtors’ accounting and disbursement control

  procedures. Maintenance of the existing Cash Management System also will avoid

  potential disruption to the Debtors’ businesses that could delay the Debtors’ emergence

  from chapter 11.

                 33.    This Court has the authority to grant the relief requested herein

  pursuant to its equitable powers under section 105(a) of the Bankruptcy Code. Section

  105(a) provides that ―[t]he Court may issue any order, process or judgment that is

  necessary or appropriate to carry out the provisions of [the Bankruptcy Code].‖ 11

  U.S.C. § 105(a). The Debtors submit that the relief requested herein is both necessary

  and appropriate to allow the Debtors to preserve the benefits of the Cash Management

  System, and avoid any disruption that would undermine or jeopardize the value of their

  estates.

                 34.    Furthermore, bankruptcy courts have noted that requests for

  authority to continue utilizing existing cash management systems can be relatively

  ―simple matters.‖ In re Baldwin-United Corp., 79 B.R. 321, 327 (Bankr. S.D. Ohio

  1987). Courts have recognized that cash management systems permit efficient utilization



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  of cash resources and that to deny debtors authority to continue to utilize their cash

  management systems would impose a ―huge administrative burden‖ on debtors’ estates.

  In re Columbia Gas Sys., Inc., 997 F.2d. 1039, 1061 (3d Cir. 1993).

                 35.     Furthermore, in In re Charter Co., 778 F.2d 617 (11th Cir. 1985),

  the Eleventh Circuit Court of Appeals held that an order authorizing the debtor to

  continue utilizing a routine cash management system ―as had been usual and customary

  in the past‖ was ―entirely consistent‖ with applicable provisions of the Bankruptcy Code,

  which permit a debtor in possession to ―use property of the estate in the ordinary course

  of business without notice or a hearing.‖ Id. at 621 (citing 11 U.S.C. §363(c)(1)).      The

  purpose of section 363(c)(1) is to provide a debtor in possession with the flexibility to

  engage in ordinary course transactions required to operate its business without excessive

  oversight by its creditors or the court. See, e.g. In re Enron Corp., 2003 Bankr. LEXIS

  2111, *53 (Bankr. S.D.N.Y. 2003). The Cash Management System is crucial to the

  Debtors’ daily business operations, and the Debtors will continue to operate the Cash

  Management System in the ordinary course. Accordingly, the Debtors submit that the

  Court also has authority under section 363(c)(1) of the Bankruptcy Code to grant the

  requested relief.

                 36.     Authorizing debtors to continue to operate prepetition cash

  management systems has been approved by courts in this district in other large chapter 11

  cases. See e.g., In re Dynegy Holdings, LLC, Case No. 11-38111 (CGM) (Bankr.

  S.D.N.Y. Jan. 26, 2012) [Docket No. 370]; In re General Maritime Corp., 11-15285

  (MG) (Bankr. S.D.N.Y. Dec. 28, 2011) [Docket No. 155]; The Great Atlantic & Pacific

  Tea Co., Inc., Case No. 10-24549 (RDD) (Bankr. S.D.N.Y. Feb. 7, 2011) [Docket No.



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  733]; In re Reader’s Digest Assoc., Inc., 09-23529 (RDD) (Bankr. S.D.N.Y. Nov. 23,

  2009) [Docket No. 306]; In re Lehman Bros. Holdings Inc., Case No. 08-13555 (JMP)

  (Bankr. S.D.N.Y. Nov. 6, 2008) [Docket No. 1416].

  The Court Should Approve the Debtors’ Continued Use of Existing Bank Accounts

                 37.     The Operating Guidelines and Reporting Requirements (the

  ―Operating Guidelines‖) promulgated by the Office of the United States Trustee for the

  Southern District of New York (the ―U.S. Trustee‖) require that a chapter 11 debtor

  close its prepetition bank accounts and open new accounts. This requirement is designed

  to (i) provide a clear line of demarcation between prepetition and postpetition transactions

  and operations; and (ii) block the inadvertent payment of prepetition claims through the

  payment of checks drawn prior to the commencement of a debtor’s case.

                 38.     The Debtors can achieve the goals of the Operating Guidelines

  without closing their existing Bank Accounts and opening new ones. The Debtors have

  requested authority to pay all prepetition general unsecured claims in the ordinary course

  of business. Accordingly, there should be no prejudice to creditors or confusion to the

  banks regarding which checks may be properly paid. In the event this Court does not

  authorize payment of prepetition claims, the Debtors will identify all prepetition checks

  and other forms of payment outstanding on the Petition Date and notify the appropriate

  bank not to pay such checks or obligations. The systems currently employed by the

  Debtors and their banks are sufficient to ensure that prepetition obligations are not paid

  improperly.

                 39.     Moreover, requiring the Debtors to close all existing accounts and

  open new debtor-in-possession accounts would not be in the best interests of their

  estates. The exercise would (i) be costly; (ii) disrupt the Debtors’ ability to satisfy

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  postpetition payables in a timely manner, potentially causing a loss of trade credit and

  customer confidence; (iii) interfere with the efficient management of the Debtors’ cash

  resources; and (iv) distract the Debtors’ managers at a time when the Debtors’ business

  requires their full attention. Indeed, approximately half of the Debtors’ Bank Accounts are

  maintained at banks on the United States Trustee’s List of Authorized Bank Depositories,

  which significantly reduces any risk to these estates posed by leaving the Bank Accounts

  in place.

                 40.     In other large chapter 11 cases, courts have recognized that the

  strict enforcement of the requirement that a debtor close its prepetition bank accounts

  does not serve the rehabilitative purposes of chapter 11. Accordingly, courts in this

  District have regularly entered orders authorizing debtors in chapter 11 cases to maintain

  their prepetition bank accounts. See e.g., In re Eastman Kodak Co., Case No. 12-10202

  (ALG) (Bankr. S.D.N.Y. Feb. 16, 2012) [Docket No. 376]; In re MK Network, LLC,

  Case No. 11-10859 (SHL) (Bankr. S.D.N.Y. Mar. 3, 2011) [Docket No. 15]; The Great

  Atlantic & Pacific Tea Co., Inc., Case No. 10-24549 (RDD) (Bankr. S.D.N.Y. Feb. 7,

  2011) [Docket No. 733]; In re Lehman Bros. Holdings Inc., Case No. 08-13555 (JMP)

  (Bankr. S.D.N.Y. Nov. 6, 2008) [Docket No. 1416]; In re Paper Int’l Inc., Case No. 08-

  13917 (RDD) (Bankr. S.D.N.Y. Oct. 10, 2008) [Docket No. 20]; In re Frontier

  Airlines Holdings Inc., Case No. 08-11298 (RDD) (Bankr. S.D.N.Y. May 2, 2008)

  [Docket No. 184].

                 41.     Accordingly, the Debtors respectfully request that the existing

  Bank Accounts be deemed debtor-in-possession accounts and that the Court authorize

  their maintenance and continued use in the same manner and with the same account



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  numbers, styles and document forms (including checks) as during the prepetition period,

  subject only to (i) designation of such accounts in the books and records of the Debtors

  and by the affected financial institution as debtor-in-possession accounts; and (ii) a

  prohibition against honoring prepetition checks without specific direction from the Debtors

  as authorized by the Court. To the extent the Debtors do not receive authority to pay all

  prepetition general unsecured claims in the ordinary course of business, the Debtors will

  advise all banks with which they have disbursement accounts not to honor checks

  issued prior to the Petition Date, except with specific direction from the Debtors, as

  authorized by this Court. By so advising the banks, the Debtors will achieve the goals of

  the bank account closing requirement: (i) establishing a clear demarcation between

  prepetition and postpetition checks; and (ii) blocking the inadvertent payment of

  prepetition checks — without disrupting their ongoing operations or jeopardizing their

  creditor relationships.

  The Court Should Grant the Debtors the Authority to Use Existing Business Forms

                 42.        The Operating Guidelines also require, unless the Court orders

  otherwise, that a debtor obtain checks that bear the designation ―debtor in possession.‖

                 43.        In the ordinary course of their business, the Debtors use a variety

  of checks, purchase orders, letterhead and other business forms (collectively, the

  ―Business Forms‖). By virtue of the nature and scope of the businesses in which the

  Debtors are engaged, and the numerous suppliers of goods and services and other parties

  with whom the Debtors deal, it is imperative that the Debtors be permitted to continue to

  use the Business Forms without alteration or change as such Business Forms were in

  existence immediately before the Petition Date, without reference to the Debtors’

  status as debtors in possession.

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                 44.     Parties doing business with the Debtors will undoubtedly be aware

  of each of the Debtors’ status as a chapter 11 debtor-in-possession. Changing

  correspondence and Business Forms would thus be unnecessary, as well as expensive and

  disruptive to the Debtors’ business operations. Furthermore, given the prepackaged nature

  of these cases, the Debtors expect to emerge from bankruptcy by June 21, 2012.

  Accordingly, to minimize expenses, the Debtors request that the requirement of the

  U.S. Trustee be waived until confirmation of the Prepackaged Plan, and that the Debtors

  be permitted to use their Business Forms in substantially the form they existed prior to the

  Petition Date and without the legend.

  The Court Should Order Superpriority Status for Intercompany Receivables

                 45.     The Cash Management System directs funds to each affiliate in

  accordance with its operational needs. From time to time, this may have the effect of

  rendering some affiliates net lenders and some net borrowers. To resolve any concerns

  related to the repayment of funds moved by and between debtors in a chapter 11 case,

  courts typically grant superpriority status to postpetition intercompany claims. See e.g., In

  re General Maritime Corp., 11-15285 (MG) (Bankr. S.D.N.Y. Dec. 28, 2011) [Docket

  No. 155]; In re Sbarro, Inc., Case No. 11-11527 (SCC) (Bankr. S.D.N.Y. May 4, 2011)

  [Docket No. 161]; In re Great Atlantic & Pacific Tea Co., No. 10-24549 (RDD) (Bankr.

  S.D.N.Y. Feb. 7, 2011); In re Reader’s Digest Assoc., Inc., 09-23529 (RDD) (Bankr.

  S.D.N.Y. Nov. 23, 2009) [Docket No. 306]; In re Lehman Bros. Holdings Inc., Case No.

  08-13555 (JMP) (Bankr. S.D.N.Y. Nov. 6, 2008) [Docket No. 1416]; In re Bally Total

  Fitness of Greater New York, Inc., Case No. 08-14818 (BRL) (Bankr. S.D.N.Y. Dec. 5,

  2008) [Docket No. 37].



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                 46.     The Prepackaged Plan contemplates the substantive

  consolidation of the Debtors. Nevertheless, in an abundance of caution and to

  ensure that each individual Debtor will not, at the expense of its respective creditors,

  fund the operations of another Debtor entity, the Debtors request that, pursuant to section

  364(c)(1) of the Bankruptcy Code, all intercompany claims between the Debtors arising

  after the Petition Date be accorded superpriority status with priority over any and all

  administrative expenses of the kind specified in sections 503(b) and 507(b) of the

  Bankruptcy Code, other than (i) any superpriority claims granted to the postpetition

  lenders, (ii) any claims under section 507(b) of the Bankruptcy Code granted to the

  Prepetition Secured Creditors, (iii) the Prepetition Secured Creditor Claims and (iv) any

  priorities, liens, claims and security interests that may be granted by the Court, from time to

  time.

  The Court Should Waive the Investment and Deposit Guidelines
  of Section 345 of the Bankruptcy Code, As Applicable

                 47.     The Debtors also request that the Court waive, to the extent

  necessary, the requirements of section 345(b) of the Bankruptcy Code to permit them to

  maintain their investments in accordance with their existing deposit practices.

                 48.     Section 345(a) of the Bankruptcy Code authorizes deposits of

  money, such as the Debtors’ cash, in a manner that ―will yield the maximum reasonable

  net return on such money, taking into account the safety of such deposit or investment.‖

  11 U.S.C. § 345(a). For deposits that are not ―insured or guaranteed by the United States

  or by a department, agency, or instrumentality of the United States or backed by the full

  faith and credit of the United States,‖ section 345(b) of the Bankruptcy Code provides

  that a debtor in possession must require a bond from the entity with which the money is


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  deposited or invested in favor of the United States secured by the undertaking of an

  adequate corporate surety. Alternatively, the debtor in possession may require the entity

  to deposit securities of the kind specified in section 9303 of title 31 of the United States

  Code.

                 49.     The Court’s ability to excuse strict performance of the deposit and

  investment requirements of section 345(b) of the Bankruptcy Code for ―cause‖ arises

  from the 1994 amendments to the Bankruptcy Code. The legislative history of that

  amendment provides:

                 Section 345 of the Code governs investments of funds of
                 bankruptcy estates. The purposes [sic] is to make sure that
                 funds of a bankrupt that are obliged to creditors are
                 invested prudently and safely with the eventual goal of
                 being able to satisfy all claims against the bankruptcy
                 estate. Under current law, all investments are required to
                 be FDIC insured, collateralized or bonded. While this
                 requirement is wise in the case of smaller debtors with
                 limited funds that cannot afford a risky investment to be
                 lost, it can work to needlessly handcuff larger, more
                 sophisticated debtors. This section would amend the Code
                 to allow the courts to approve investments other than those
                 permitted by section 345(b) for just cause, thereby
                 overruling In re Columbia Gas Systems, Inc., 33 F.3d 294
                 (3d Cir. 1994).

  In re Service Merchandise Co., Inc., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999)

  (quoting H.R. Rep. 103-834, 103rd Cong., 2nd Sess. 224 (Oct. 4, 1994); 140 Cong. Rec.

  H10767 (Oct. 4, 1994)).

                 50.     In determining whether the ―for cause‖ standard has been met, the

  Court should consider the ―totality of the circumstances‖, utilizing the following factors:

                         (a)     the sophistication of the debtor’s business;

                         (b)     the size of the debtor’s business operations;

                         (c)     the amount of investments involved;

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                         (d)      the bank ratings (Moody’s and Standard and Poor) of the
                 financial institutions where the debtor-in-possession funds are held;

                        (e)     the complexity of the case;

                        (f)      the safeguards in place within the debtor’s own business of
                 insuring the safety of the funds;

                        (g)    the debtor’s ability to reorganize in the face of a failure of
                 one or more of the financial institutions;

                        (h)     the benefit to the debtor;

                        (i)     the harm, if any, to the estate; and

                         (j)    the reasonableness of the debtor’s request for relief from
                 section 345(b) requirements in light of the overall circumstances of the
                 case.

  Service Merchandise, 240 B.R. at 896.

                 51.    Examining these factors, the court in Service Merchandise

  concluded that ―cause‖ existed because the debtors were ―large, sophisticated

  [companies] with a complex cash management system‖ that had the capacity to shift

  funds as need to ensure their safety. Id. The court concluded that the benefits of waiving

  the requirements of section 345(b) far outweighed any potential harm to the estates, and

  failure to waive the requirements ―would needlessly handcuff these debtors’

  reorganization efforts.‖ Id.at 896-97.

                 52.    In the present case, the funds held in sixteen (16) Bank Accounts

  (the ―FDIC Insured Bank Accounts‖), are fully insured by the FDIC. Accordingly, they

  are secure and strictly comply with the requirements of section 345(b). An additional

  two Bank Accounts are insured by the FDIC to up to $250,000. In addition, twenty-six

  (26) of the Debtors’ Bank Accounts are maintained at banks that have been approved by

  the U.S. Trustee for the Southern District of New York (the ―U.S. Trustee‖) as authorized



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  depositories (the ―Authorized Depositories‖). Accordingly, the Debtors believe that any

  funds that are deposited in these accounts are secure and that they therefore comply with

  the requirements of section 345(b).4

                  53.      Approximately nine (9) Bank Accounts, however, are not FDIC

  insured and located at non-Authorized Depositories (the ―Non-Authorized Bank

  Accounts‖). One of these accounts is the Debtors’ pension plan account which is

  monitored by a trustee. With respect to the funds held in the Non-Authorized Bank

  Accounts, the Debtors submit that ―cause‖ exists to waive the requirements of section

  345(b) of the Bankruptcy Code.

                  54.      First, like the debtors in Service Merchandise, the Debtors here are

  large, sophisticated companies whose estates will receive a significant benefit from the

  continued availability of funds via the existing Bank Accounts.

                  55.      Second, the funds held in the Non-Authorized Bank Accounts for

  investment purposes are governed by the Debtors’ investment policy (the ―Investment

  Policy‖) which establishes the parameters to be followed to invest the Debtors’ excess or

  idle cash balances. The primary objective of the Debtors’ Investment Policy is the safety

  and preservation of invested funds. The Investment Policy specifically prohibits any

  borrowing of funds for the sole purpose of leveraging the Debtors’ investment portfolio

  and any investment activity that would be considered speculative according to the

  principles of conservative investment management. Furthermore, the Investment Policy

  sets credit quality parameters including that money market funds shall be judged to be of



  4
      To the extent any funds held in the FDIC Insured Bank Accounts or with Authorized Depositories
      are/become non-compliant or exceed the amounts insured by the FDIC, the Debtors expressly reserve
      their right to seek a waiver of the section 345(b) requirements as described above.


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  best quality as denoted by a Moody’s rating of AAAm or an S&P’s rating of AAA. The

  Debtors’ Investment Policy also establishes a concentration limit for non-governmental

  investments of a range between $50 million and $100 million depending on the

  company’s total portfolio size.

                 56.     Accordingly, the Debtors submit that a waiver of the deposit and

  investment guidelines set forth in section 345 of the Bankruptcy Code should pose no risk

  to their estates or their creditors. By contrast, requiring the Debtors to change their

  deposit and investment procedures abruptly could result in harm to the Debtors, their

  estates and their creditors due to the disruption of their Cash Management System.

                 57.     Given the complexity and relative security of the Debtors’ Cash

  Management System, the size of the Debtors’ business, and the conservative Investment

  Policy detailed above, the Debtors submit that ample cause exists to waive the

  requirements of section 345(b) of the Bankruptcy Code until confirmation of the

  Prepackaged Plan. Courts have granted similar relief in other large chapter 11 cases in

  this District. See, e.g., In re Tronox, Inc., Case No. 09-10156 (Bankr. S.D.N.Y. Feb. 6,

  2009); In re DJK Residential LLC, Case No. 08-10375 (Bankr. S.D.N.Y. 2008).

                 58.     To the extent that funds in the Non-Authorized Bank Accounts

  exceed the amounts insured by the FDIC, are foreign bank accounts or are not otherwise

  guaranteed or protected, the Debtors propose to engage in discussions with the U.S.

  Trustee to determine what modifications to such accounts, if any, would be appropriate.

  Immediate Relief is Necessary to Avoid Immediate and Irreparable Harm

                 59.     Rule 6003 of the Federal Rules of Bankruptcy Procedure (the

  ―Bankruptcy Rules‖) provides that ―[e]xcept to the extent that relief is necessary to avoid

  immediate and irreparable harm, the court shall not, within 21 days after the filing of the

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  petition, issue an order granting . . . (b) a motion to use, sell, lease, or otherwise incur an

  obligation regarding property of the estate, including a motion to pay all or part of a

  claim that arose before the filing of the petition . . . .‖ Fed. R. Bankr. P. 6003(b).

  Bankruptcy Rule 6004(h) provides that ―[a]n order authorizing the use, sale, or lease of

  property other than cash collateral is stayed until the expiration of 14 days after entry of

  the order, unless the court orders otherwise.‖ Fed. R. Bankr. P. 6004(h). As discussed

  herein, the Debtors will suffer immediate and irreparable harm absent this Court’s entry

  of the Interim Order granting the relief requested herein. Consequently, the relief

  requested herein is consistent with Bankruptcy Rule 6003. By this motion, the Debtors

  respectfully request that the relief requested herein become effective and enforceable

  immediately notwithstanding Bankruptcy Rule 6004(h).


                                             NOTICE

                  60.     As of the date hereof, no creditors’ committee, trustee, or examiner

  has been appointed in these chapter 11 cases. Notice of this Motion has been provided

  to: (i) the United States Trustee, Attention: Andrea B. Schwartz; (ii) counsel for the

  DIP/Exit Agent; (iii) the parties identified on the Debtors’ consolidated list of twenty (20)

  largest unsecured creditors; (iv) counsel for the Informal Creditor Group; (v) counsel for

  the Prepetition Senior Secured Notes Trustee; (vi) counsel for the Prepetition Agent;

  (vii) counsel for the Prepetition L/C Bank; (viii) the Securities and Exchange

  Commission; (ix) the United States Attorney for the Southern District of New York; (x)

  the Internal Revenue Service; (xi) the Environmental Protection Agency; (xii) the

  Pension Benefit Guaranty Corporation; (xiii) the New York State Department of

  Taxation; (xiv) the New York City Tax Department; and (xv) such other parties entitled


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  to notice pursuant to Local Rule 9013-1(m). The Debtors submit that, in light of the

  nature of the relief requested, no other or further notice need be provided.


                                   NO PRIOR REQUEST

                 No previous request for the relief sought herein has been made to this or to

  any other court.

                 WHEREFORE, the Debtors respectfully request that this Court enter the

  Interim Order and a Final Order, after a scheduled hearing to determine the relief

  requested herein on a final basis, authorizing the Debtors to (a) maintain and use their

  existing Bank Accounts, books, records and business forms, (b) maintain and use their

  existing Cash Management System, (c) provide superpriority status for intercompany

  receivables, and (d) waive the deposit and investment guidelines of section 345 of the

  Bankruptcy Code.



  Dated: May 21, 2012                           PAUL, WEISS, RIFKIND WHARTON &
         New York, New York                     GARRISON LLP

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                                                Debtors-in-Possession




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                                   EXHIBIT A


               Diagrams of Cash Management System for U.S. Accounts
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                                   EXHIBIT B


          Diagrams of Cash Management System for International Accounts
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                                                                      EXHIBIT C


                                                                 Debtors’ Bank Accounts
  Bank and Financial Institution Accounts


 Financial Institution               Account Name                         Address of Account             Purpose of the Account        Account Number
Houghton Mifflin Harcourt Publishing Company
Bank of America         Houghton Mifflin Harcourt Publishing         135 S. LaSalle St.               Main operating & concentration       X-2008
                        Company; Operating Account                   IL4-135-14-02                    account
                                                                     Chicago, IL 60603
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Credit card receipts                 X-1320
                          Company; Trade Credit Card Sales
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Credit card receipts                 X-3896
                          Company; Internet Sales
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Payroll                              X-0257
                          Company; Payroll
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Flexible spending                    X-2319
                          Company; FSA Health Care
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Escrow established for LMS           X-2306
                          Company; Escrow Pursuant to LMS                                             Agreement deal
                          Agreement
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Money Market Investments             X-0806
                          Company
Bank of America           Houghton Mifflin Harcourt Publishing       Same as above                    Williams Lea disbursements           X-6622
                          Company; Williams Lea Disbursements                                         account
Bank of America           Houghton Mifflin Company                   2 King Edward Street             Pounds sterling receipts and         X-6014
                                                                     London EC1A 1HQ                  disbursements
Bank of America           Houghton Mifflin Company International,    Same as above                    Pounds Sterling VAT refunds          X-9019
                          Inc.
Bank of America           Houghton Mifflin Company                   Same as above                    Euro account                         X-6022
Wells Fargo Bank          Houghton Mifflin Harcourt Publishing       101 Federal Street, Suite 2020   Disbursements                        X-5528
                          Company                                    Boston, MA 02110
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 Financial Institution                Account Name                        Address of Account              Purpose of the Account   Account Number
Wells Fargo Bank           Houghton Mifflin Harcourt Publishers,      Same as above                   Letter of Credit Facility        X-6974
                           Inc.
Goldman Sachs              Houghton Mifflin Harcourt Publishing       71 South Wacker Drive           Money Market Investments         X-6000
                           Company                                    Investment Management
                                                                      Division
                                                                      Global Liquidity Management
                                                                      Chicago, IL 60606
Wells Capital              Houghton Mifflin Harcourt Publishing       525 Market Street, 10th Floor   Money Market Investments         X-2010
Management                 Company                                    San Francisco, CA 94105
Fidelity Capital Markets   Houghton Mifflin Harcourt Publishing Co.   82 Devonshire Street V6B        Money Market Investments         X-0051
                                                                      Boston, MA 02109
Capital Advisors Group     Houghton Mifflin Harcourt Publishing       29 Crafts Street                Money Market Investments         X-3835
                           Company                                    Chatham Center, Suite 270
                                                                      Newton, MA 02458
Capital Advisors Group     Houghton Mifflin Harcourt Publishing       Same as above                   Other Securities                 X-3836
                           Company
Morgan Stanley Private     Houghton Mifflin Harcourt Publishing       522 Fifth Ave.                  Money Market Investments        X-0EB0
Wealth Management          Company                                    New York, NY 10036
Morgan Stanley Private     Houghton Mifflin Harcourt Publishing       Same as above                   Other Securities                X-0ECC
Wealth Management          Company
State Street Global        Houghton Mifflin Company; Retirement       801 Pennsylvania                Human Resources retirement       X-7276
Advisors                   Trust                                      Kansas City, MO 64105           trust account
Citibank                   Houghton Mifflin Company                   1 Penns Way                     Cigna Health Care HSA and        X-8777
                                                                      New Castle, DE 19720            HRA account

   Other HMH Holdings (Delaware), Inc. Subsidiaries

  Financial Institution               Account Name                          Address of Account            Purpose of the Account   Account Number
JPMorgan Chase Bank,       Houghton Mifflin Harcourt Publishing       JPMorgan Chase Bank, N.A.,      Payroll – S Korean Branch        X-4168
N.A.                       Company                                    Seoul Branch                    office (KRW)
                                                                      J.P. Morgan Plaza
                                                                      34-35 Jeong-dong, Jung-gu
                                                                      Seoul 100-120, Korea
JPMorgan Chase Bank,       Houghton Mifflin Harcourt Publishing       Same as above                   S Korean Branch office USD       X-2231
N.A.                       Company                                                                    account
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  Financial Institution             Account Name                            Address of Account              Purpose of the Account         Account Number
JPMorgan Chase Bank,      HMH Holdings (Delaware) Inc.                One Chase Manhattan Plaza          Bank fees related to JPM access       X-9444
N.A.                                                                  NY1-A155
                                                                      New York, NY 10005-1401
Citibank NA               Houghton Mifflin Company International      Citibank (China) Co., Ltd., 17F,   USD Account                           X-1004
                          Beijing Rep Office                          Excel Center No. 6 Wudinghou
                                                                      Street, Xicheng District,
                                                                      Beijing 100033 China
Citibank NA               Houghton Mifflin Company International      Same as above                      CNY Account                           X-1209
                          Beijing Rep Office
Citibank NA               Houghton Mifflin Company International      4th Floor, Citibank Tower, Oud     USD Account                           X-4027
                          Inc. Rep Office                             Metha Road, PO Box 749,
                                                                      Dubai, UAE
Citibank NA               Houghton Mifflin Company International      Same as above                      AED Account                           X-4019
                          Inc. Rep Office
Citibank NA               Houghton Mifflin Company International,     Citi Tel Aviv, 21 Ha'arba'a        ILS                                   X-1001
                          Inc.                                        Street, Tel Aviv, Israel, 64739
Citibank NA               Houghton Mifflin Company International,     Same as above                      USD                                   X-1028
                          Inc.

   OSV-HMH Indemnity Escrow

 Financial Institution                 Account Name                         Address of Account              Purpose of the Account         Account Number
1st Source Bank           Our Sunday Visitor Inc - Houghton Mifflin   1st Source Bank-PAMB,              Escrow established for OSV           X-4-01-3
                          Harcourt Publishing Company Indemnity       306 East Main Street,              deal
                          Escrow                                      Suite 100,
                                                                      Niles, MI 49120

   Greenwood Publishing Group Inc. Accounts

 Financial Institution               Account Name                          Address of Account               Purpose of the Account         Account Number
Bank of America           Greenwood Publishing Group, Inc.            135 S. LaSalle Street              Local Deposits (New                   X-3534
                                                                      IL4-135-14-02                      Hampshire)
                                                                      Chicago, IL 60603
Bank of America           Greenwood Publishing Group, Inc.            Same as above.                     GH Global Credit Card receipts        X-6556
Bank of America           Greenwood Publishing Group, Inc.            Same as above.                     Heinemann PD Credit Cards             X-6569
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  Advanced Learning Centers, Inc.

 Financial Institution              Account Name                    Address of Account          Purpose of the Account        Account Number
Community Banks of       Advanced Learning Centers             7900 East 1st Avenue           Operating Account                   X-1500
Colorado                                                       NMLS #866293
                                                               Lowry Branch
                                                               Denver, CO 80230
Community Banks of       Advanced Learning Centers             Same as above.                 Merchant Account                    X-1527
Colorado
Community Banks of       Advanced Learning Centers             Same as above.                 Goldman Sachs Sweep Account         X-5924
Colorado
Chase Bank               Advanced Learning Centers             JPMorgan Chase Bank, N.A       Collateral for Chase Business       X-0435
                                                               P O Box 659754,                Credit Card (checking)
                                                               San Antonio, TX 78265 - 9754
Chase Bank               Advanced Learning Centers             Same as above.                 Collateral for Chase Business       X-6450
                                                                                              Credit Card (savings)
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                                   EXHIBIT D
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  -------------------------------------- x
  In re:                                                             : Chapter 11
                                                                     :
  HOUGHTON MIFFLIN                                                   : Case No. 10-____ (___)
  HARCOURT PUBLISHING COMPANY, et al.,                               :
                                                                     : (Joint Administration Pending)
                                              Debtors.               :
  -------------------------------------- x

          INTERIM ORDER AUTHORIZING DEBTORS TO (I) MAINTAIN
            AND USE EXISTING BANK ACCOUNTS, BOOKS, RECORDS
           AND BUSINESS FORMS;(II) MAINTAIN AND USE EXISTING
      CASH MANAGEMENT SYSTEM; (III) PROVIDE SUPERPRIORITY STATUS
                    FOR INTERCOMPANY RECEIVABLES;
              AND (IV) WAIVE THE DEPOSIT AND INVESTMENT
          GUIDELINES OF SECTION 345 OF THE BANKRUPTCY CODE

                    Upon consideration of the motion (the ―Motion‖)1 of Houghton Mifflin

  Harcourt Publishing Company and its subsidiaries and affiliates, as debtors and debtors-

  in-possession in the above-captioned chapter 11 cases (collectively, the ―Debtors‖), for

  entry of an order pursuant to sections 105(a), 345(b), 363(c)(1) and 364(c), 503, 1107

  and 1108 of title 11 of the United States Code (the ―Bankruptcy Code‖) (i) authorizing

  the continued use of existing bank accounts (the ―Bank Accounts‖), books, records and

  business forms; (ii) authorizing the continued use of the Debtors’ existing cash

  management system (the ―Cash Management System‖); (iii) granting superpriority status

  for intercompany accounts; and (iv) waiving the deposit and investment guidelines of

  section 345 of the Bankruptcy Code; and upon consideration of the Bayers Affidavit

  pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the Southern District of

  New York, sworn to May 21, 2012; and this Court having jurisdiction to consider the

  1
       Capitalized terms used and not defined herein shall have the meaning ascribed to them in the Motion.
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  Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and it

  appearing that venue of these cases and the Motion in this district is proper pursuant to 28

  U.S.C. §§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant

  to 28 U.S.C. § 157(b); and it appearing that notice of the Motion has been given as set

  forth in the Motion and that such notice is adequate and no other or further notice need be

  given; and a hearing having been held to consider the relief requested in the Motion and

  upon the record of the hearing and all of the proceedings had before the Court; and the

  Court having found and determined that the relief sought in the Motion is in the best

  interests of the Debtors, their estates, their creditors and all other parties in interest; and

  that the legal and factual bases set forth in the Motion establish just cause for the relief

  granted herein; and after due deliberation and sufficient cause appearing therefor, it is

  hereby ORDERED that:

                  1.      The Motion is GRANTED as modified herein.

                  2.      The Debtors are authorized to (i) maintain, and continue to use their

  existing prepetition Bank Accounts, in the names and with the account numbers existing

  immediately prior to the commencement date of the Debtors’ chapter 11 cases (the

  ―Petition Date‖), and treat such Bank Accounts as debtor-in-possession accounts; and

  (ii) deposit funds into and withdraw funds from existing prepetition Bank Accounts or

  accounts opened postpetition by all usual means, including, without limitation, checks,

  wires, automated clearinghouse transfers (the ―ACH Transfers‖), and other debits.

                  3.      The Debtors are authorized to open any new bank accounts or

  close any existing Bank Accounts as they may deem necessary and appropriate in their

  sole discretion; provided, however, that the Debtors may open a new bank account with




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  a banking institution not designated as an Authorized Depository under the U.S. Trustee

  Guidelines, only after obtaining (i) the consent of the U.S. Trustee and the Informal

  Creditor Group or (ii) a court order.

                 4.      Any and all accounts opened by the Debtors on or after the

  Petition Date at any bank shall, for the purposes of this Order, be deemed a Bank Account

  (as if it had been opened prior to the Petition Date and listed in Exhibit C to the Motion),

  and any and all banks at which such accounts are opened shall similarly be subject to the

  rights and obligations of this Order.

                 5.      Nothing contained herein shall prevent the banks (the ―Banks‖) at

  which the Bank Accounts are held from modifying or terminating any Bank Accounts or

  related services in accordance with the agreements governing such accounts or services.

                 6.      The Banks are authorized to continue to treat, service, and

  administer such Bank Accounts as accounts of the Debtors as debtors in possession

  without interruption and in the usual and ordinary course and to receive, process and

  honor and pay any and all postpetition checks, drafts, wires, or ACH Transfers drawn on

  the Bank Accounts by the holders or makers thereof to the extent the Debtors have good

  funds standing to their credit with such Bank, as the case may be.

                 7.      Notwithstanding anything to the contrary in any other ―First Day

  Order‖ or other order of this Court, the Banks (i) are authorized to accept and honor all

  representations from the Debtors as to which checks, drafts, wires, or ACH Transfers

  should be honored or dishonored, consistent with any order(s) of this Court and

  governing law, whether such checks, drafts, wires, or ACH Transfers are dated prior to, on,

  or subsequent to the Petition Date, and whether the Banks believe the payment is or is




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  not authorized by an order of this Court; (ii) have no duty to inquire as to whether such

  payments are authorized by an order of this Court; and (iii) have no duty to make

  payments in respect thereto unless the Debtors have good funds standing to their credit

  with such Bank.

                  8.      The Banks shall not be liable to any party on account of

  (i) following the Debtors’ instructions or representations as to any order of this Court;

  (ii) the honoring of any prepetition check or item in a good faith belief that the Court has

  authorized such prepetition check or item to be honored; or (iii) an innocent mistake

  made despite implementation of reasonable item handling procedures.

                  9.      In accordance with current practice and the agreement

  governing the Bank Accounts, the Banks are authorized to ―charge back‖ to the Debtors’

  accounts any amounts incurred by the Banks resulting from returned checks or other

  returned items, and the Debtors are authorized to pay any fees and expenses owed to the

  Banks, in each case regardless of whether such items were deposited prepetition or

  postpetition or relate to prepetition or postpetition items.

                  10.     The Debtors are authorized to maintain and continue to use their

  checks and any and all other Business Forms substantially in the forms existing

  immediately prior to the Petition Date, without reference to the Debtors’ status as debtors

  in possession, until confirmation of the Prepackaged Plan.

                  11.     The Debtors and their duly appointed agents and custodians are

  authorized and empowered to (i) continue to manage the Debtors’ cash pursuant to the

  Cash Management System maintained by the Debtors and their non-debtor affiliates

  prior to the Petition Date; (ii) continue to perform their obligations under the agreements




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  governing such system, including paying all prepetition and postpetition fees and

  expenses incurred in connection therewith; provided, however, that prior to the Effective

  Date (as defined in the Prepackaged Plan), the Debtors must obtain the prior written

  consent of the Informal Creditor Group for any Intercompany Transaction giving rise to

  an Intercompany Claim against a Debtor of $3.5 million or more; and (iii) transfer funds

  by and among the Debtors, and by and among their respective Bank Accounts and other

  accounts maintained with or by their duly appointed agents and custodians, as and when

  needed and in the amounts necessary or appropriate to maintain their operations and

  facilitate the orderly operation of their estates or businesses.

                 12.      All Intercompany Claims incurred in the ordinary course of

  business between the Debtors and other Debtors, as well as between Debtors and non-

  Debtors arising from Intercompany Transactions shall be accorded superpriority status

  with priority over any and all administrative expenses of the kind specified in sections

  503(b) and 507(b) of the Bankruptcy Code; provided, however, that all superpriority claims

  for intercompany receivables shall be subordinate in all respects to (i) any superpriority

  claims granted to the postpetition lenders, (ii) any claims under section 507(b) of the

  Bankruptcy Code granted to the Prepetition Secured Creditors, (iii) the Prepetition Secured

  Creditor Claims and (iv) any priorities, liens, claims and security interests that may be

  granted by the Court, from time to time.

                 13.      To the extent the Debtors are not already in compliance the

  requirements of section 345(b) of the Bankruptcy Court, compliance with those

  requirements is hereby waived until confirmation of the Prepackaged Plan.




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                   14.     Within three (3) business days after entry hereof, the Debtors shall

  serve a copy of the Motion and this Order upon (i) the United States Trustee,

  Attention: Andrea B. Schwartz; (ii) counsel for the DIP/Exit Agent; (iii) the parties

  identified on the Debtors’ consolidated list of twenty (20) largest unsecured creditors;

  (iv) counsel for the Informal Creditor Group; (v) counsel for the Prepetition Senior

  Secured Notes Trustee; (vi) counsel for the Prepetition Agent; (vii) counsel for the

  Prepetition L/C Bank; (viii) the Securities and Exchange Commission; (ix) the United

  States Attorney for the Southern District of New York; (x) the Internal Revenue Service;

  (xi) the Environmental Protection Agency; (xii) the Pension Benefit Guaranty

  Corporation; (xiii) the New York State Department of Taxation; (xiv) the New York City

  Tax Department; (xv) such other parties entitled to notice pursuant to Local Rule 9013-

  1(m) and (xvi) the Banks listed on Exhibit C to this Motion.

                   15.     A hearing shall be held to consider the relief granted herein on a

  final basis on           , 2012, at .m., before the Honorable                 , United States

  Bankruptcy Judge, in Courtroom             Alexander Hamilton Court House, One Bowling

  Green, New York, New York; and any objections to entry of such order shall be in

  writing, filed with the Court in accordance with General Order M-242, and served upon

  (i) the United States Trustee, Attention: Andrea B. Schwartz; (ii) counsel for the

  DIP/Exit Agent; (iii) the parties identified on the Debtors’ consolidated list of twenty (20)

  largest unsecured creditors; (iv) counsel for the Informal Creditor Group; (v) counsel for

  the Prepetition Senior Secured Notes Trustee; (vi) counsel for the Prepetition Agent;

  (vii) counsel for the Prepetition L/C Bank; (viii) the Securities and Exchange

  Commission; (ix) the United States Attorney for the Southern District of New York;




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  (x) the Internal Revenue Service; (xi) the Environmental Protection Agency; (xii) the

  Pension Benefit Guaranty Corporation; (xiii) the New York State Department of

  Taxation; (xiv) the New York City Tax Department; (xv) such other parties entitled to

  notice pursuant to Local Rule 9013-1(m) and (xvi) the Banks listed on Exhibit C to this

  Motion.

                  16.    Any objections or responses to the Motion shall be filed on or

  before May [ ], 2012 at 4:00 p.m. prevailing Eastern Time and served on parties in

  interest as required by the Local Rules.

                  17.    . This Order, and all acts taken in furtherance of or reliance upon

  this Order, shall be effective notwithstanding the filing of an objection.

                  18.    Notwithstanding Bankruptcy Rules 6003 and 6004(h), the terms

  and conditions of this Interim Order shall be immediately effective and enforceable upon

  its entry. The requirements of Local Rule 9013-1(b) are hereby waived.

                  19.    Service of this Order with a copy of the Motion as provided above

  shall be deemed good and sufficient notice of the Motion and the final hearing thereon.

  Dated:                  , 2012
            New York, New York



                                             _______________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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                                   EXHIBIT E
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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  -------------------------------------- x
  In re:                                                            : Chapter 11
                                                                    :
  HOUGHTON MIFFLIN                                                  : Case No. 10-____ (___)
  HARCOURT PUBLISHING COMPANY, et al.,                              :
                                                                    : (Joint Administration Pending)
                                             Debtors.               :
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          FINAL ORDER AUTHORIZING DEBTORS TO (I) MAINTAIN
          AND USE EXISTING BANK ACCOUNTS, BOOKS, RECORDS
         AND BUSINESS FORMS; (II) MAINTAIN AND USE EXISTING
       CASH MANAGEMENT SYSTEM, AS MODIFIED; AND (III) PROVIDE
        SUPERPRIORITY STATUS FOR INTERCOMPANY RECEIVABLES

                   Upon consideration of the motion (the ―Motion‖)1 of Houghton Mifflin

  Harcourt Publishing Company and certain of its subsidiaries and affiliates, as debtors and

  debtors-in-possession in the above-captioned chapter 11 cases (collectively, the

  ―Debtors‖), for entry of an order pursuant to sections 105(a), 345(b), 363(c)(1) and

  364(c), 503, 1107 and 1108 of title 11 of the United States Code (the ―Bankruptcy

  Code‖) (i) authorizing the continued use of existing bank accounts (the ―Bank

  Accounts‖), books, records and business forms; (ii) authorizing the continued use of the

  Debtors’ existing cash management system (the ―Cash Management System‖); (iii)

  granting superpriority status for intercompany accounts; and (iv) waiving the deposit and

  investment guidelines of section 345 of the Bankruptcy Code; and upon consideration of

  the Bayers Affidavit pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

  Southern District of New York, sworn to on May 21, 2012; and the Court having

  jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

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      Capitalized terms used and not defined herein shall have the meaning ascribed to them in the Motion.
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  §§ 157 and 1334; and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408

  and 1409; and due and proper notice of the Motion having been provided; and it

  appearing that no other or further notice need be provided; and the relief requested being

  in the best interests of the Debtors and their estates and creditors; and the Court having

  reviewed the Motion and having heard the statements in support of the relief requested

  therein at the interim hearing before the Court; and the Court having determined that the

  legal and factual bases set forth in the Motion and at the interim hearing established just

  cause for entry of an interim order (the ―Interim Order‖) granting the requested relief; and

  the Court having held a final hearing (the ―Hearing‖) on the relief requested in the Motion;

  and the Court having determined that the legal and factual bases set forth in the Motion

  and at the Hearing established just cause for the relief granted herein; and upon all of the

  proceedings had before the Court and after due deliberation and sufficient cause appearing

  therefor; it is hereby ORDERED that:

                 1.      The Motion is GRANTED as modified herein.

                 2.      All objections not previously withdrawn are overruled.

                 3.      The provisions of this order (the ―Final Order‖) supersede the

  provisions of the Interim Order previously entered on the Motion by this Court on

  May [ ], 2012 ECF. No. [ ]], and in the event of any irreconcilable inconsistency

  between this Final Order and the Interim Order, the terms of this Final Order shall govern

  and control.

                 4.      Except as otherwise set forth below, the provisions of this Final

  Order shall be effective, nunc pro tunc, to the commencement date of the Debtors’

  chapter 11 cases (the ―Petition Date‖).




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                 5.      The Debtors are authorized to (i) maintain, and continue to use their

  existing prepetition Bank Accounts, in the names and with the account numbers existing

  immediately prior to the Petition Date, and treat such Bank Accounts as debtor-in-

  possession accounts; and (iii) deposit funds into and withdraw funds from existing

  prepetition Bank Accounts or accounts opened postpetition by all usual means, including,

  without limitation, checks, wires, automated clearinghouse transfers (the ―ACH

  Transfers‖), and other debits.

                 6.      The Debtors are authorized to open any new bank accounts or

  close any existing Bank Accounts as they may deem necessary and appropriate in their

  sole discretion; provided, however, that the Debtors may open a new bank account with

  a banking institution not designated as an Authorized Depository under the U.S. Trustee

  Guidelines only after obtaining the consent of (i) the U.S. Trustee and the Informal

  Creditor Group; or (ii) a court order.

                 7.      Any and all accounts opened by the Debtors on or after the

  Petition Date at any bank shall, for the purposes of this Order, be deemed a Bank Account

  (as if it had been opened prior to the Petition Date and listed in Exhibit C to the Motion),

  any and all banks at which such accounts are opened shall similarly be subject to the

  rights and obligations of this Order.

                 8.      Nothing contained herein shall prevent the banks (the ―Banks‖) at

  which the Bank Accounts are held from modifying or terminating any Bank Accounts or

  related services in accordance with the agreements governing such accounts or services.

                 9.      The Banks are authorized to continue to treat, service, and

  administer such Bank Accounts as accounts of the Debtors as debtors-in-possession




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  without interruption and in the usual and ordinary course and to receive, process and

  honor and pay any and all postpetition checks, drafts, wires, or ACH Transfers drawn on

  the Bank Accounts by the holders or makers thereof to the extent the Debtors have good

  funds standing to their credit with such Bank, as the case may be.

                 10.     Notwithstanding anything to the contrary in any other ―First Day

  Order‖ or other order of this Court, the Banks (i) are authorized to accept and honor all

  representations from the Debtors as to which checks, drafts, wires, or ACH Transfers

  should be honored or dishonored, consistent with any order(s) of this Court and

  governing law, whether such checks, drafts, wires, or ACH Transfers are dated prior to, on,

  or subsequent to the Petition Date, and whether the Banks believe the payment is or is

  not authorized by an order of this Court; (ii) have no duty to inquire as to whether such

  payments are authorized by an order of this Court; and (iii) have no duty to make

  payments in respect thereto unless the Debtors have good funds standing to their credit

  with such Bank.

                 11.     The Banks shall not be liable to any party on account of

  (i) following the Debtors’ instructions or representations as to any order of this Court;

  (ii) the honoring of any prepetition check or item in a good faith belief that the Court has

  authorized such prepetition check or item to be honored; or (iii) an innocent mistake

  made despite implementation of reasonable item handling procedures.

                 12.     In accordance with current practice and the agreement

  governing the Bank Accounts, the Banks are authorized to ―charge back‖ to the Debtors’

  accounts any amounts incurred by the Banks resulting from returned checks or other

  returned items, and the Debtors are authorized to pay any fees and expenses owed to the




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  Banks, in each case regardless of whether such items were deposited prepetition or

  postpetition or relate to prepetition or postpetition items.

                  13.     The Debtors are authorized to maintain and continue to use their

  checks and any and all other Business Forms substantially in the forms existing

  immediately prior to the Petition Date, without reference to the Debtors’ status as debtors-

  in-possession until confirmation of the Prepackaged Plan.

                  14.     The Debtors and their duly appointed agents and custodians are

  authorized and empowered to (i) continue to manage the Debtors’ cash pursuant to the

  Cash Management System maintained by the Debtors and their non-Debtor affiliates

  prior to the Petition Date; (ii) continue to perform their obligations under the agreements

  governing such Cash Management System, including paying all prepetition and

  postpetition fees and expenses incurred in connection therewith; provided, however, that

  prior to the Effective Date (as defined in the Prepackaged Plan), the Debtors must obtain

  the prior written consent of the Informal Creditor Group for any Intercompany

  Transaction giving rise to an Intercompany Claim against a Debtor of $3.5 million or

  more; and (iii) transfer funds by and among the Debtors, and by and among their

  respective Bank Accounts and other accounts maintained with or by their duly appointed

  agents and custodians, as and when needed and in the amounts necessary or appropriate

  to maintain their operations and facilitate the orderly operation of their estates or

  businesses.

                  15.     All Intercompany Claims incurred in the ordinary course of

  business between the Debtors and other Debtors, and between the Debtors and non-

  Debtors arising from Intercompany Transactions shall be accorded superpriority status




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  with priority over any and all administrative expenses of the kind specified in sections

  503(b) and 507(b) of the Bankruptcy Code; provided, however, that all superpriority claims

  for intercompany receivables shall be subordinate in all respects to (i) any superpriority

  claims granted to the postpetition lenders, (ii) any claims under section 507(b) of the

  Bankruptcy Code granted to the Prepetition Secured Creditors, (iii) the Prepetition Secured

  Creditor Claims and (iv) any priorities, liens, claims and security interests that may be

  granted by the Court, from time to time.

                 16.     To the extent the Debtors are not already in compliance the

  requirements of section 345(b) of the Bankruptcy Court, compliance with those

  requirements is hereby waived until confirmation of the Prepackaged Plan.

                 17.     Notwithstanding Bankruptcy Rules 6003 and 6004(h), the terms

  and conditions of this Final Order shall be immediately effective and enforceable upon its

  entry. The requirements of Local Rule 9013-1(b) are hereby waived.



  Dated:                 , 2012
           New York, New York

                                             ______________________________________
                                             UNITED STATES BANKRUPTCY JUDGE




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